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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,          )
                   Plaintiff,      )
                                  )
vs.                               )              Case No.: 16-10141-03-EFM
                                  )
GAVIN WAYNE WRIGHT,               )
                      Defendant   )
________________________________ )

MOTION TO WITHDRAW DOCUMENT 41 (MOTION FOR DESIGNATION OF
CASE AS COMPLEX, REQUESTING EXCLUDABLE TIME COMPUTATIONS,
AND FOR APPROVAL FOR PAYMENT OF EXCESS COMPENSATION)

       COMES NOW the defendant, Gavin Wayne Wright, by and through his attorney

of record, Kari S. Schmidt, Conlee Schmidt & Emerson, LLP, and files this motion to

withdraw his MOTION FOR DESIGNATION OF CASE AS COMPLEX,

REQUESTING EXCLUDABLE TIME COMPUTATIONS, AND FOR APPROVAL

FOR PAYMENT OF EXCESS COMPENSATION (DOCUMENT 41) filed in this court

on November 14, 2016.

       WHEREFORE, Movant requests that the Court issue an order withdrawing

Movant’s Motion for designation as a complex case under 18 U.S.C.

§3161(h)(8)(A)-(B)(ii) and for such other and further relief as to the Court seems just.

                                          Respectfully submitted,

                                          s/Kari S. Schmidt
                                          Kari S. Schmidt, #11524
                                          Conlee Schmidt & Emerson, LLP
                                          200 W. Douglas, Suite 300
                                          Wichita, Kansas 67202
        Case 6:16-cr-10141-EFM Document 48 Filed 11/29/16 Page 2 of 2




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                                     Email: karis@fcse.net
                                     Attorneys for Gavin Wayne Wright


                          CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above MOTION TO
WITHDRAW DOCUMENT 41 (MOTION FOR DESIGNATION OF CASE AS
COMPLEX AND REQUESTING EXCLUDABLE TIME COMPUTATIONS AND
FOR APPROVAL OF PAYMENT OF EXCESS COMPENSATION) was filed and
served electronically pursuant to the CM/ECF system on November 29, 2016, on all
counsel of record.

                                           S/Kari S. Schmidt
